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DEPARTMENT OF STATE D
Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT .
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF och V nloee| A
Name: B\ vac C2, , . =
Last Name “First Name Middle Name or Initial Suffix
Residential Address: _ YO Acch, St
City: Sone = State PQ ZipCode: YEO!
Municipality (City, Boro, or Township): So ab WV Gender. F & MO NBD
Mailing Address (if different from residential): Y _ a
City State: _ Zip Code:

Office for which you are seeking nomination: _ Presidential Elector
. 1
Email address: _Suveet sun “Wt@ Gmax | 1 COM
Name as it is to appear on the Ballot: S OV Wa a A \vac ee

CANDIDATE’S AFFIDAVIT - I do swear {or affirm) that my residence, my election district and the name of the office
for which | desire to be a candidate are as specified below, that I am eligible for said office, and that 1 will not knowingly
violate any election iaw or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have ] been nominated by any other nomination papers for any such office; that if] am a candidate for election at a general
or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30} days prior to the primary up to and including the day of the following general or municipal election, or if lam
a candidate for election at a special election ] am not a registered and enrolled member of a political party; that 1 am not
a candidate for an office which | already hold, the-te ich is not set to expire in the same year as the office subject
to this affidavit.

I swear (or affirm) to the above parts as required

Sworn (or affirmed) and subscribed before me by the laws applicable to the office I seek.

24 day of Oo uy 20 24
Doman of Nantes

Signature of Offider Administering 4 ffirmation

Notas u Public

Official Title
My commission expires S - 30 -2 023

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Signature of Candidate

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Telephone Number

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County of Residence

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DEPARTMENT OF STATE D
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POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF _ Berks
Name: _ Stephens Jacob Charles ;
Last Name First Name Middle Name or Initial Sulfix
Residential Address: 2490 Hopewell Rd
City; Elverson State: PA Zip Code: 19520

Municipality (City, Boro, or Township): Caernarvon Township Gender: FO MM NBO

Mailing Address (if different from residential):

City:
Election District of Candidate (district where registered to vote): Caernarvon Township ~ 2nd Precinct

State: Zip Code:

Presidential Elector

Office for which you are seeking nomination:
Email address: Jacob.stephens.701@gmail.com

Name as it is to appear on the Ballot: Jacob Stephens

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
knowingly

for which i desire to be a candidate are as specified below, that Iam eligible for said office. and that I will not
® nomination and election expenses, and prohibiting corrupt

violate any election law or any law regulating and limitin

practices in connection therewith: that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures: that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have I been nominated by any other nomination papers for any such office; that if | am a candidate for election at a general
or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if] am
a candidate for election at a special election I am nota registered and enrolled member of a political party; that Iam not
a candidate for an office which | already hold, the term of which is not set to expire in the same year as the office subject

to this affidavit. 3 2 3
o g 5 I swear (or affirm) to the above parts as required
Sworn (or affirmed) and subscribed before me this S2 g ol3 by the laws applicable to the office I seck.
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My commission expires Cmu2 Yt z s z§ a. Berks
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DEPARTMENT OF STATE
Bureau of Elections

POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA

COUNTY OF bese

Name: _\\hiaen : Koluen : Nicce cele ;

Apr S. First Name ~ Middle Name or Initial Suffix

Residential Address: AOA Mictway Aly
city: Naat Nyins ____ State: Pj Zip Code: (5349 se

Municipality (City, Boro. or Township): Pauy Toop _ Gender: FR MO NBO
Mailing Address (if different from residential):

OU

City: State: Zip Code:

Election District of Candidate (district where registered to vote): ANA

Office for which you are seeking nomination: _ Presidential Elector

Email address: _Quivmnuillicms 131 tnad-Com
Name as it is to appear on the Ballot: —Avhumn. \WiligaS a Se

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence. my election district and the name of the office
for which I desire to be a candidate are as specified below, that I am eligible for said office. and that I will not knowingly
violate any election law or any Jaw regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that [ am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have I been nominated by any other nomination papers for any such office; that if ] am a candidate for election at a general
or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election. or if] am
a candidate for election at a special election I am not a registered and enrolled member of a political party; that I am not
a candidate for an office which I already hold. the term of which is not set to expire in the same year as the office subject
io this affidavit.

I swear (or affirm) to the above parts as required
applicable to the office I seek.

Sworn (or affirmed) and subscribed before me this

yr

wealth of Pennsylvania - Notary Seal
Co MDER L. HARBARGER - Notary Public
2024 Greene County
My Commission Expires Marcn H. 1077
Commission number 1433858
——

day of

Signature of Officer Administéting Affirmation Signature of Candidate

ficial Title Telephone Number
My commission expires Macca 0, Ada]. Creene

Counry of Residence

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Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT

COMMONWEALTH OF PENNSYLVANIA

couNTY OF_ Buc Ks

Name: ADNA NE , LOoQgMAW , R ;

Last Name First Name Middle Name or Initial Suffix

Residential Address: 76 LICY RO

ciy: WARMINSTER state: PA zip Code: 18974

Municipality (City, Boro, or Township): wA RMINSTER Gender: FO M@/ NBO

Mailing Address (if different from residential):

City: State: Zip Code:

Election District of Candidate (district where registered to vote): PENN SYL VANZA I sf

Office for which you are seeking nomination: _ Presidential Elector

Email address: tog man _adaane @ au toe k fowl

Name as it is to appear on the Ballot: L Oa MA V A DNA NE

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
for which | desire to be a candidate are as specified below, that | am eligible for said office, and that § will not knowingly
violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have 1 been nominated by any other nomination papers for any such office; that if 1 am a candidate for election at a general
or municipal election I shalt not be a registered and enrolied member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if 1 am
a candidate for election at a special election [ am not a registered and enrolled member of a political party; that 1 am not
sd candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject

this affidavit.
g I swear (or affirm) to the above parts as required

ag worn (Or firmed) and subscribed before me this by the laws applicable to the office | seek.
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Official Title Telephone Number
i > |My commission expires Ss } 29 bee £ uc ly
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Case 2:24-cv-013

DSBE-PBCA (rev. 2724) CORO RAEN bE PN IVANA’/24 Page 5 of 1

DEPARTMENT OF STATE D

Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT

COMMONWEALTH OF PENNSYLVANIA

county of AZ/eg hen

Name: Mew sj bans, Arwold , VS ,

Last Name First Name Middle Name or Initial Suffix
Residential Address: _/@ 3i We/fe 4} yernsJve

City: Bra ddockK State: F 4 Zip Code: {5/79 FY
Municipality (City, Boro, or Township): _ Wen ZA BreoddocK
Mailing Address (if different from residential):

City: Loraddack State: FA. Zip Code: J) § /O &

Election District of Candidate (district where registered to vote): A 4. eg A ewy a a’ ty
Office for which you are seeking nomination: _ Presidential Elector

Email address: 2éecovtsmy/ ef SE gmnerif sco
Name as it is to appear on the Ballot: fierwslo WW Mets) 2mS

Gender: FO MW& NBO

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
for which | desire to be a candidate are as specified below, that I am eligible for said office, and that I will not knowingly
violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
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or municipal election I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if | am

a candidate for election at a speciat election I am not a registered and enrolled member of a political party; that | am not

a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject

to this affidavit.

1 swear (or affirm) to the above parts as required
Sworn (or afftrmed) and subscribed before me this

by the laws applicable to the office I seek.
ith day of \y 04
ope Nrebbas Da fayra

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UTR nS Administering Affirmation Signature of Candidate
y Rblic “¢/2.~ 732- 8874
- Official Title

Telephone Number

Allegheny Corwty

“County of Residence

My commission expires fof} 4 /: at
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Case 2:24-cv-01349-NR Document 29-4 Filed 10/07/24 Page 6 of 10

DSBE-PBCA (rev. 2/24) COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE
Bureau of Elections

POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA

COUNTY OF Dav par __
Name: Mortia : can ONA : N\ '

Last Name First Name Middle Name or Initial Suffix

Residential Address: od hn Wer Si ty Mon oC E
City: Q svn State: CA Zip Code: (+0 oe

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ee :
Municipality (City, Boro, or Township): Der C ¥ { OWNS h ‘ p Gender: FR MO NBO
Mailing Address (if different from residential): =
City: State: Zip Code:

Election District of Candidate (district where registered to vote): \o th CoA & ress \ ol aA {> Ss tr ie r

Office for which you are seeking nomination: _ Presidential Elector
Email address: Toh ana WSS Vt @ Om a\ « CO ™)
Name as it is to appear onthe Ballot: 4 o* LAWN M. Ma tC + v\

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
for which | desire to be a candidate are as specified below, that I am eligible for said office, and that I will not knowingly
violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that [ am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
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have I been nominated by any other nomination papers for any such office; that if] am a candidate for election at a general
or municipal etection I shall not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if 1 am
a candidate for election at a special election | am not a registered and enrolled member of a political party; that | am not
a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject
to this affidavit.

I swear (or affirm) to the above parts as required

Sworn (or affirmed) and subscribed before me this by the laws applicable to the office I seek.

petpenaet— Hh

Signature of Officet-Administering Affirmation Signature of Candidate

Lota? 414 -BlO- Gl SG

Official Title Telephone Number

My commission expires You/20 J dD Ov in 4 se

County of Residence

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Cammonweaith of Pennsylvania - Notary Seal
ANDREW m DUNLEAVY - Notary Public

Delaware County
My Commission Expires Ocroper 2, 2027
Commission Number 1438997

Case 2:24-cv-01349-NR_ Document 29-4 Filed 10/07/24 Page 7 of1

DSBE-PBCA (rev. 2/24) COMMONWEALTH OF PENNSYLVANIA

DEPARTMENT OF STATE D

Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF Nel Quare
Name: Ganchs , Claiist von ; CA werd ;
Last Name First Name Middle Name or Initial Suffix
Residential Address: _SO3 (\Qvuis Ave
city; CANYon Weiskts state: PA zipcode: /G 91K
; 1

Municipality (City, Boro, or Township): C\ \ iran He alts Gender: FO M@® NBO

Mailing Address (if different from residential):

City: State: Zip Code:

Election District of Candidate (district where registered to vote): Mlaware

Office for which you are seeking nomination: _ Presidential Elector
Email address: Clagshan, panchs@9nai\. corn
Name as it is to appear on the Ballot: Cha \ sion Qorchs

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
for which I desire to be a candidate are as specified below, that I am eligible for said office, and that [ will not knowingly
violate any election law or any law regulating and jimiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor
have [ been nominated by any other nomination papers for any such office; that if | am a candidate for election at a general
or municipal election | shali not be a registered and enrolled member of a political party at any time during the period of
thirty (30) days prior to the primary up to and including the day of the following general or municipal election, or if 1 am
a candidate for election at a special election 1 am not a registered and enrolled member of a political party; that | am not
a candidate for an office which I already hold, the term of which is not set to expire in the same year as the office subject
to this affidavit.

I swear (or affirm) to the above parts as required
Swom & affirmed} and subscribed before me this by the Jaws applicable to the office I seek.

Be day of July 20 24

Signature of Officer nD, bir Affirmation Signature of Candidate

Kotan Prelit lb F- S15 9866

‘Official Title Telephone Number
Commonwealth of Pennsylvania - Notary De
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My COMMISSION Expires Lo, o co : Delaware County 9
‘ My Commission Expires Ocraper 2, 2027 County of Residence
Commission Numoer 1438997

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COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE
Bureau of Elections

CANDIDATE’S AFFIDAVIT FOR SUBSTITUTE NOMINATION CERTIFICATE

COMMONWEALTH OF PENNSYLVANIA
SS:

COUNTY OF Al ( eshen 4

CANDIDATE'S AFFIDAVIT — I do swear (or affirm) that my residence, my election district and the name of the office
for which [ consent to be a candidate are as specified below, that I am eligible for said office, and that | will not
knowingly violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting
corrupt practices in connection therewith; that ] am aware of the provisions of Section 1626 of the Pennsylvania Election
Code requiring pre-election and post-election reporting of campaign contributions and expenditures; that unless 1 am a
candidate for Judge of a Court of Common Pleas, the Philadelphia Municipal Court or the office of school board in a
district where that office is elective or the office of magisterial district judge, that | am not a candidate for the same office
of any political party or political body other than the one designated herein; that I am not a candidate for an office which I
already hold, the term of which is not set to expire in the same year as the office subject to this affidavit.

I swear (or affirm) to the above parts as required by the laws applicable to the office I seek.

Swomi to (or affirmed) and subscribed before me this
‘ ’
LG sayor_D I 20.24 | Presidental Elector

Office and District (if any ,
OX. ben DS,

Reece Sea cen Tale Seal Signature of Candidate .
My Commissios Expves August 12, 2024 Chatles B Ak er
Commission Numb +r 1376972
(SEAL) 1203 Love St

Residential Address/Post Office/Zip Code

Enttshorgh Alfeqhan 4
Coulty 7

City, Borough, Towriship

(Signature of Person Ad tering Oath) Election District of Candidate
(District Where Registered To Vote}
My Commission Expires Aus ust 12,2004

412 608 4569

Telephone Number

DSBE-PBSNC (6/24)
Case 2:24-cv-01349-NR Document 29-4 Filed 10/07/24 Page 9 of 10

DSBE-PBCA (rev. 2/24) COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE D
Bureau of Elections D
POLITICAL BODY CANDIDATE’S AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA
COUNTY OF Hlleqhent
Name: Her 5 C ha f les : & ,
Last Name First Name Middle Name or Initial Suffix
Residential Address:  / 2203 Low Stineet:
city: _ Frtts burgh State: FP ZipCode: /s2/ 9
Municipality (City, Boro, or Township): Pettshuth Gender: FO M@& NBO
Mailing Address (if different from residential):
City: State: Zip Code:

Election District of Candidate (district where registered to vote): f2 4 Cong District
Office for which you are seeking nomination: _ Presidential Elector
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Email address: A ie r@ i tt ‘ ely
=F ;
Name as it is to appear on the Ballot: Cha les ES Mer

CANDIDATE’S AFFIDAVIT - I do swear (or affirm) that my residence, my election district and the name of the office
for which I desire to be a candidate are as specified below, that I am eligible for said office, and that I will not knowingly
violate any election law or any law regulating and limiting nomination and election expenses, and prohibiting corrupt
practices in connection therewith; that I am aware of the provisions of Section 1626 of the Pennsylvania Election Code
requiring pre-election and post-election reporting of campaign contributions and expenditures; that my name has not been
presented as a candidate by nomination petitions for any public office to be voted for at the ensuing primary election, nor

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have I been eee by any other nom ination papers f for any ue offi ice;

a varies for an office which 1 already hold, thet term 1of which i is not set to expire in n the si same ear as s the office subject
to this affidavit.

I swear (or affirm) to the above parts as required
by the laws applicable to the office I seek.

Charles B. fle

Signature of Candidate

Swom (or affirmed) and subscribed before me this

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Signature of Officer Administefing Affirmation \?;%, <2. 2

Notery Public NEY 412 608 4sbF

Official Title 1 &? %. oh, Number
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My commission expires Au us t 12,2024 \ Be erg Alle
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DSBE-PB WD (rev. 7/24) COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE
Bureau of Elections

POLITICAL BODY CANDIDATE’S WITHDRAWAL NOTICE
TO THE SECRETARY OF THE COMMONWEALTH:
1 hereby withdraw my name as a candidate for the OFFICE and POLITICAL BODY in

the COUNTY and/or DISTRICT listed below for the General Election to be held
November 5, 2024.

POLITICAL BODY Justice For All OFFICE Presidential Elector

COUNTY Fhe Ja de é f h [A DISTRICT.
_ COMPLETE IF APPLICABLE

ED OF CANDIDATE

Candidate Number / Z-

De
On_ this, the day of wv Loa , 20 2 ue before me

C |
Wk Seal Uifbecl Det pe undersigned officer, i appeared k te Hoplec- o> fe 2 +

known to me (or satisfactorily proven) to be the person whose name is subscribed to the

within instrument, and acknowledged that they executed the same for the purposes
therein contained and desired the same to be recorded as such.

In witness whereof, I hereunto set my hand

pe official seal, tf —
\ |LRZ L tbo / Lok _——
f (SIGNATURE)

fof
Abbseg fable
(OFFICIAL TITLE)

My Commission Expires 4g //2 /@ 77
NOTE: Withdrawals must be filed not later than 5:00 P.M. on August 12, 2024

COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE BUREAU OF ELECTIONS
210 NORTH OFFICE BUILDING
HARRISBURG, PA 17120
DSBE — PB WD (REV. 7/24)
